Case 2:11-cv-00281-RAED ECF No. 64 filed 05/30/13 PagelD.1283 Page 1 of 8

AQ 133 (Rev. 12/09) Bil of Costs

UNITED STATES DISTRICT COURT

for the

Western District of Michigan
Robert Milton Salewsky

 

)
)
v. ) Case No.: 2:11-cv-00281

Trooper Daniel Bartell )
)

BILL OF COSTS

Judgment having been entered in the above entitled action on 5/21/2013 against Danie! Bartell :
Date

the Clerk is requested to tax the following as costs:
Fees of the Clerk... 2... et ete enn tenets s 350.00
Fees for service of summons and subpoena «2.0... tee ees oe _ 51.42

Fees for printed or electronically recorded transcripts necessarily obtained for use in the case...... a 1 256.75

 

Fees and disbursements for printing ©... 0-000 eee eens _ ee
Fees for witnesses (itemize on page VO) 6 eet eee ee .

Fees for exemplification and the costs of making copies of any materials where the copies are
necessarily obtained for use in the case... 0. ee ee eens ee __

Docket fees under 28 U.S.C. 1923 00 eet tet eens - Ce
Costs as shown on Mandate of Court of Appeals ....0 00.060 eens nn co
Compensation of court-appointed experts 000 ne tet e eee _ ce

Compensation of interpreters and costs of special interpretation services under 28 U.S.C. [828 ..... on

Other costs (please Htentize} oe en eee n tenn ae ; — a
2,772.23

SPECIAL NOTE: Attach to your bil! an itemization and documentation for requested costs in all categories.

 

Declaration

 

| declare under penalty of perjury that the foregoing costs are correct and were necessarily incurred in this action and that the
services for which fees have been charged were actually and necessarily performed. A copy of this bill has been served on all parties
in the following manner:

 

Electronic service [| First class mail, postage prepaid
[| Other:
s/ Attorney: Racine Miller

 

Name of Attorney: Racine Miller

For: Robert Salewsky Date. 5/29/2013
Name of Claiming Party

 
 

 

Costs are taxed in the amount of and included in the judgment.

By:
Clerk of Caurt , _ Deputy Clerk Date

 

 
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AO 133 (Rev. 12/09) Bul of Casts

UNITED STATES DISTRICT COURT

 

 

Witness Fees (computation, cf. 28 U.S.C. 1821 for statutory fees)

 

 

ATTENBANCE SUBSISTENCE MILEAGE
Total Cost
NAME , CITY AND STATE OF RESTSENCE Total Total Total Each Witness
Days Cost Days Cost Niles Cast

   

    

inger, Menomineé, MI

 
 

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1 1 40.00 245 | 138.47 $178.47

 

Randy Nicoll, Menominee, Ml 4 | 40.00 541 | 136.03 $176.03

 

Scotty Husbeck, Menominee, MI + | 40.00 nao | 138.38 $175.39

 

 

 

     

 

TOTAL $1,114.06

 

 

 

 

 

NOTICE

Section 1924, Title 28, U.S. Code (effective September 1, 1948} provides:
“Sec. 1924. Verification of bill of casts.”

“Before any bill of costs is taxed, the party claiming any item of cost or disbursement shall attach thereto an affidavit, made by himself or by
his duly authorized attorney or agent having knowledge of the facts, that such item is correct and has been necessarily incurred in the case and
that the services for which fees have been charged were actually and necessarily performed.”

See also Section 1920 of Title 28, which reads in part as follows:
“A bill of costs shall be filed in the case and, upon allowance, included in the judgment or decree.”

The Federal Rules of Civil Procedure contain the foHowing provisions:
RULE 54(d)}(1)

Costs Other than Attorneys’ Fees.
Unless a federal statute, these rules, or a court order provides otherwise, costs — other than attorney's fees — should be allowed to the

prevailing party. But costs against the United States, its officers, and ils agencies may be imposed only to the extent ailowed by law. The clerk
may tax costs on 14 day's notice. On motion served within the next 7 days, the court may review the clerk's action.

RULE 6
(d} Additional Time After Certain Kinds of Service.
When a party may or must act within a specified time after service and service is made under RuleS{b)(2)(C), (D5, CE), or (F), 3 days are
added after the period would otherwise expire under Rule 6(a).
RULE $8(e)

Cost or Fee Awards:

Ordinarily, the entry of judgment may not be delayed, nor the lime for appeal extended, in order to tax costs or award fees. But ifa
timely motion for attorney's fees is made under Rule 54(d)(2}, the court may act before a notice of appeal has been filed and become
effective to order that the motion have the same effect under Federal Rule of Appellate Procedure 4{a)(4) as a timely mation under Rule 39.

 

 
Case 2:11-cv-00281-RAED ECF No. 64 filed 05/30/13

7, 2011
Fees of the Clerk
7f/27{2011 Certified Mail, Return Summons on Bartell, Olson
Tria Husbeck
Witness Trial Kitzi
Tria Lacombe
Trial Makowski
Witness Trial Nerat
Trial Nicol
Trial Paris
Witness Trial na, Seid
Witness Trial Short
Fees for service of summons and
6/19/2012 transcripts; Bartell, Oison, Foster
i 12 transcripts; Seid, Nicoll Sa
Used at trial and in Dkt 2 to Motion for
Fees for transcri obtained for use in the case
5/20/2013] Witness Fee Audrey Kitzi
3|Witness Fee Makowski
5/20/2013|Witness Fee Short
3 Fee Ra Nicoll
13} Witness Fee Marlene Seid
13 Fee Husbeck

PagelD.1285 Page 3 of 8

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HECKAMAN & NARDONE

HECKAMAN & NARDONE, INC. Invoice

Certified Shorthand Reporters
P.O, Box 27603
Lansing, MI 48909

 

07/15/2012

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(517)349-0847
theckaman@live.com

   

08/14/2012

 

 

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We Fight the Law, PC
17600 Northland Park Court, Ste 201
Southfield, M] 48075

 

 

: of the Deposition Transcripts of Troopers Bartell & Olson
|» Copy of the Deposition Transcription of: Brooke Foster

In the matter of Robert Salewsky v Olson, et al.

Date taken: June 19, 2012

 

 

THANK YOU —

 

 

Federal ID: XX-XXXXXXX HECKAMAN & NARDONE, INC. (517)349-0847
Case 2:11-cv-00281-RAED ECF No. 64 filed 05/30/13 PagelD.1287 Page 5 of 8

HECKAMAN & NARDONE

HECKAMAN & NARDONE, INC. invoice

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P.O. Box 27603 ’
Lansing, MI 48909 07/15/2012 24051

 

   

 
 

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Racine Miller, J.D.

| We Fight the Law, PC

| 17600 Northland Park Court, Ste 201
Southfield, MI 48075

  

 

   

« Copy of the Deposition Transcriptions of: Robert Salewsky, Marlene Seid, Randy

Nicoll & Tom LaCombe :
In the matter of Robert Salewsky v Olson, et al.

Pate taken: June 18, 2012 :
4 0.25 1.00

1 20.00 20.00
6 4.00, 24.00

 

 

THANK YOU |

 

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